Case 2:04-cv-02065-.]PI\/|-STA Document 14 Filed 04/20/05 Page 1 of 3 Page|D 14

F!.;-, div

IN THE UNITED sTATEs DISTRICT cOURT § ` `"

FoR THE wEsTERN DISTRICT oF TENNESSEE E,DRZ .- 7
wEsTERN DIVISION g "*'" 9 'Jh “ “

 

Huseh¢mro§ ‘FWO
CLERK.LLS.Di;.GT

JAMES HENDERSON, \MD.OFTN.M&MHNS

Plaintiff,
v. No. 04-2065 Ml/An
OFFICER COHEN, et al.,

Defendants.

`-_/V\/-_¢-_/~_/-__¢-_/-_»-_¢

 

ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f), a Rule 16(b) Scheduling Order
Was entered in this case on. March, 15, 2005 by `United States
Magistrate Judge S. Thomas yAnderson. In accordance with. the
deadlines established in that order, trial and pretrial dates are

set as follows before the District Court:

l. A non-jury trial is set to begin Monday, Jannary'30, 2006
at 9:30 a.m. in courtroom no. 4.

2. A_pretrial conference is set for Mondav, January 23, 2006
at 9:00 a.m.

3. The joint pretrial order is due by no later than 4:30

p.m. on January 16l 2006.

Case 2:04-cv-02065-.]PI\/|-STA Document 14 Filed 04/20/05 Page 2 of 3 Page|D 15

Absent good cause, the dates established by this order shall

not be extended or modified.

1
l'l` IS SO ORDERED this /Cl day Of April, 2005.

_@mLC~/AQQ@

Jo' PHIPPS MCCALLA
TED sTATEs DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02065 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

ESSEE

 

.1 ames Henderson
SCJ-MEMPHIS

3 1 123 96

201 Poplar Ave.
1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

